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                                                                               FILED IN CHAMBERS
                                                                                  U.S.D,C. Atlanta


                                 THE UNITED STATES DISTRICT COURT MAY 21 2014
                               FOR THE NORTHERN DISTRICT OF GEOR.£DA;s N. HATTEN, Clerk
                                         ATLANTA DIVISION         i!r'       ~_


             UNITED STATES OF AMERICA,
                                                          CRIMINAL ACTION
             v.                                           NO. 1:13-CR-382-JEC
             VINCENTE MARTINEZ-ESPINOZA,

                         Defendant.
                  REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY1
                    The Defendant, Vincente Martinez-Espinoza (" Defendant"), by consent, has
             appeared before the undersigned United States Magistrate Judge and has entered a
             plea of guilty to the Indictment. After cautioning and examining the Defendant under
             oath concerning each of the subjects mentioned in Rule 11, I have determined that the
             guilty plea was knowing and voluntary, and that the plea to the offense charged is
             supported by an independent basis in fact establishing each of the essential elements
             of the offense. I have also determined that, to the maximum extent permitted by
             federal law, the Defendant has voluntarily and expressly waived his right to appeal the
             conviction and sentence and the right to collaterally attack his sentence in any
             post-conviction proceedings, including by motion filed pursuant to 28 U.S.C. § 2255,
             on any ground, except that the Defendant may file a direct appeal of an upward
             departure or a variance from the sentencing guideline range as calculated by the
             district court, and if the Government appeals the sentence imposed, the Defendant may

                    1 Failure to file written objections to this Report and Recommendation within
             FOURTEEN (14) DAYS after service of a copy of this Report and Recommendation
             shall bar an aggrieved party from attacking such Report and Recommendation before
             the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


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             also file a cross-appeal of that same sentence. It is, therefore, RECOMMENDED that
             the plea of guilty be accepted and that the Defendant be adjudged guilty and have
             sentence imposed accordingly.
                   IT IS SO RECOMMENDED this 21st day of May, 2014.




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